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 12
                            UNITED STATES DISTRICT COURT
 13                        CENTRAL DISTRICT OF CALIFORNIA
 14
      WILDEARTH GUARDIANS,                            )          Case No. 2:19-cv-9473
 15
                                                      )
 16                                                   )          FEDERAL DEFENDANTS’
         Plaintiff,                                   )          COMBINED RESPONSE
 17
                                                      )          TO PLAINTIFF’S MOTION
 18         v.                                        )          FOR SUMMARY
 19
                                                      )          JUDGMENT AND
      SCOTT DE LA VEGA, in his official
                                1
                                                      )          CROSS-MOTION FOR
 20   capacity as U.S. Secretary of the Interior, and )          SUMMARY JUDGMENT
 21   UNITED STATES FISH AND WILDLIFE )
      SERVICE,                                        )          Date: June 7, 2021
 22                                                   )          Time: 1:30 PM
 23      Defendants.                                  )
                                                      )
 24
 25
 26
 27
      1
       Pursuant to Federal Rule of Civil Procedure 25(d), Scott de la Vega, Acting Secretary of the
 28   U.S. Department of the Interior, is automatically substituted for David Bernhardt.
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 21
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 23
 24
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 26
 27
 28

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  1
                                        INTRODUCTION

  2           The record before the Court fully supports the U.S. Fish and Wildlife Service’s
  3
      (“the Service”) determination pursuant to Section 4 of the Endangered Species Act
  4
  5   (“ESA”) that listing the two species of Joshua Tree as threatened or endangered
  6
      species is “not warranted.” See 84 Fed. Reg. 41,694, (Aug. 15, 2019). The Service
  7
      thoroughly reviewed the best available scientific and commercial data on potential
  8
  9   threats to the Joshua Tree and concluded that none of those threats, either
 10
      individually or in combination, placed the species in danger of extinction, or made
 11
 12   them likely to become in danger of extinction in the foreseeable future, throughout all
 13   or a significant portion of their ranges ("SPRs"). In doing so, the Service utilized its
 14
      discretion to weigh available information and make its own informed decisions as to
 15
 16   what constitutes the best scientific and commercial data available. Plaintiff fails to
 17
      carry its high burden of showing that these determinations were arbitrary or
 18
 19
      capricious. The Court should enter summary judgment in favor of Defendants.

 20                                      BACKGROUND
 21
 22      I.      Statutory and Regulatory Background

 23
              Congress enacted the ESA in 1973 “to provide a means whereby the
 24
 25   ecosystems upon which endangered species and threatened species depend may be
 26
      conserved, [and] to provide a program for the conservation of such endangered
 27
 28


                                                  1
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  1
      species and threatened species[.]” 16 U.S.C. § 1531(b). The ESA directs the Secretary 2

  2   to determine which species should be listed as threatened or endangered. Id. §
  3
      1533(a)(1). An endangered species is one that “is in danger of extinction throughout
  4
  5   all or a significant portion of its range.” Id. § 1532(6). A threatened species is one
  6
      “likely to become an endangered species within the foreseeable future throughout all
  7
      or a significant portion of its range.” Id. § 1532(20).
  8
  9          The “listing” of a species as endangered or threatened under ESA Section 4
 10
      may occur in one of two ways—either through a “petition process” or of the Service’s
 11
 12   own accord. In the latter scenario, the Service initiates the listing of a species as
 13   threatened or endangered. In the petition process, any interested person may petition
 14
      the Service to list a species as threatened or endangered. Id. § 1533(b)(3)(A).
 15
 16          The petition process is described in detail in ESA Section 4(b)(3). Id. §
 17
      1533(b)(3)(A). “To the maximum extent practicable, within 90 days after receiving” a
 18
 19
      petition, the Service must “make a finding as to whether the petition presents

 20   substantial scientific or commercial information indicating that the petitioned action
 21
      may be warranted.” Id. This finding is published in the Federal Register. If the
 22
 23   Service determines that a petition to list a species presents substantial information
 24
      indicating that the listing “may be warranted,” it promptly commences a status review
 25
      of the species. Id.
 26
 27
      2
        The Secretary of the Department of the Interior has jurisdiction over the Joshua Tree. The
 28   Secretary has delegated his ESA responsibilities to the Service. See 50 C.F.R. § 402.01(b).


                                                   2
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  1
            After engaging in a status review, within 12 months after receipt of the listing

  2   petition, the Service must make one of three findings—that the listing is “warranted,”
  3
      “not warranted,” or “warranted but precluded” by other listing activity. 16 U.S.C. §
  4
  5   1533(b)(3)(B). If the Service finds that the listing is not warranted, the Secretary
  6
      publishes the finding in the Federal Register and no further action is required.
  7
            If the Service finds that the listing is warranted, it must promptly publish in the
  8
  9   Federal Register “a general notice and the complete text” of a proposed rule to list the
 10
      species. Id. § 1533(b)(3)(B)(ii), (b)(5)(A)(i). Within one year of the publication of the
 11
 12   proposed rule, the Service must publish a final regulation placing the species on the
 13   endangered or threatened list, notice that the proposed rule is being withdrawn, or
 14
      notice that, due to a substantial disagreement regarding the sufficiency or accuracy of
 15
 16   the available data the Service is extending by up to six months the timeline for making
 17
      the determination. Id. § 1533(b)(6)(A).
 18
 19
            Under ESA Section 4, a species may warrant listing because of any of the

 20   following five factors:
 21
            (A) the present or threatened destruction, modification, or curtailment
 22         of its habitat or range; (B) overutilization for commercial, recreational,
 23         scientific, or educational purposes; (C) disease or predation; (D) the
            inadequacy of existing regulatory mechanisms; or (E) other natural or
 24
            manmade factors affecting its continued existence.
 25
      Id. § 1533(a)(1). A species warrants listing if it meets the definition of an endangered
 26
 27   species at ESA Section 3(6) or the definition of a threatened species at section ESA
 28


                                                  3
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  1
      Section 3(20)—that is, if the species is “in danger of extinction throughout all or a

  2   significant portion of its range,” or is “likely to become an endangered species within
  3
      the foreseeable future throughout all or a significant portion of its range.” Id. §§
  4
  5   1532(20), 1533. The Service makes this determination
  6
               solely on the basis of the best scientific and commercial data available to
  7            him after conducting a review of the status of the species and after
               taking into account those efforts, if any, being made by any State or
  8
               foreign nation, or any political subdivision of a State or foreign nation,
  9            to protect such species, whether by predator control, protection of
 10
               habitat and food supply, or other conservation practices, within any area
               under its jurisdiction; or on the high seas.
 11
 12   § 1533(b)(1)(A).
 13
         II.      Statement of Facts
 14
 15            The Joshua Tree is made up of two genetically distinct species, Yucca brevifolia
 16
      (“Y. brevifolia”) and Yucca jaegeriana (“Y. jaegeriana”), each of which differs in vegetative
 17
 18   and floral morphology and has its own yucca moth pollinator. Administrative Record
 19
      (“AR”) 006930, AR006970, AR012018. The Joshua Tree habitat occurs in a diverse
 20
 21
      array of five regions where temperature, soil type, geography, rainfall and vegetation

 22   widely vary. AR006981–86. Accordingly, it generally occurs in elevations between 600
 23
      to 2200 meters, AR006973, and areas that receive between 3.24 and 29.06 inches of
 24
 25   annual rainfall, and can tolerate temperature ranges between 12 °F to 138 °F.
 26
      AR006992. It occupies more than 12 million acres throughout the desert grasslands
 27
      and shrub communities of the Mojave Desert, Great Basin Desert, and Sonoran
 28


                                                    4
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  1
      Desert, AR006973-75, AR006977-79, AR011755, approximately 78% of which is

  2   either owned or managed by federal or state agencies, which provide protections and
  3
      limit habitat disturbance, AR006942-43, AR006977-79, AR007059, AR007942,
  4
  5   AR008214.
  6
            On August 15, 2019, the Service determined that listing the Joshua Tree as
  7
      threatened or endangered under the ESA was not warranted due to the species’ long
  8
  9   lifespan, large ranges and distributions—which are mostly found on federal lands
 10
      where it is protected or managed for conservation—and its ability to occupy
 11
 12   numerous ecological settings. 84 Fed. Reg. at 41,694, 41,697. In making its 12-month
 13   findings, the Service reviewed the best available scientific and commercial data and
 14
      compiled the information in a Species Status Assessment Report (“SSA”).
 15
 16   AR006957-7084.
 17
            In the SSA, the Service thoroughly analyzed potential current and future threats
 18
 19
      including wildfires, invasive plants, habitat loss, and climate change (including

 20   prolonged drought). AR007053-54 (Y. brevifolia), AR007066-68 (Y. jaegeriana). To
 21
      assess the species’ potential future condition, the Service ran two increased
 22
 23   temperature scenarios and determined that species expansion north and westward
 24
      could potentially counteract projected southern range contractions, AR007040, and
 25
      identified areas within the predicted southern range contraction where the Joshua
 26
 27   Tree would continue to persist. AR007014. It determined that in a majority of the
 28


                                                  5
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  1
      current range, where there have historically been long fire return intervals of 300 to

  2   500 years, wildfires did not pose a significant threat to the species as a whole.
  3
      AR007000-01, 007012-13. While there are no standardized long-term demographic
  4
  5   studies of the Joshua Tree range, the Service examined National Park Service surveys
  6
      and other studies to determine that recent recruitment events of the Joshua Tree
  7
      throughout the Mojave Desert have been documented. AR006966–007022,
  8
  9   AR007027.
 10
             Taking into account the information in the SSA, the Service then assessed
 11
 12   whether these species are likely to become endangered within the foreseeable future
 13   throughout all or a significant portion of their ranges in a Species Status Review
 14
      Form. AR006927-53. For purposes of its 12-month findings, the Service used 80
 15
 16   years as the timeframe for the “foreseeable future” based on the limitations of the
 17
      existing projected climate models. AR006949, AR007032. It defined the phrase
 18
 19
      “significant portion of its range” based on the statutory text of the ESA and court

 20   opinions involving other listing decisions. AR006950-52. The Service determined
 21
      that although individual trees could be impacted by threats including wildfire, climate
 22
 23   change, and habitat loss, the threats to Y. jaegeriana were not likely to affect the species
 24
      at a population or species level, and that there was no portion of the range where any
 25
      threats were more concentrated at a “biologically meaningful” scale than in other
 26
 27   portions of its range. AR006951. The Service did determine that the area along the
 28


                                                   6
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  1
      western edge of the southern population of Y. brevifolia would face biologically

  2   significant threats from wildfire and habitat loss from development, but that this area
  3
      was not unique or biologically different from other areas supporting this population
  4
  5   and was not significant as it was a “very small percentage” of the total area occupied
  6
      by Y. brevifolia in its southern population. AR006951-52. Based on its review of the
  7
      best available scientific and commercial information, the Service concluded that Y.
  8
  9   brevifolia and Y. jaegeriana were not in danger of extinction or likely to become
 10
      endangered within the foreseeable future throughout all or a significant portion of
 11
 12   their ranges and so listing was not warranted. AR006953.
 13            On November 4, 2019, Plaintiff challenged the listing decision, alleging that the
 14
      Service violated the ESA by failing to use the best available science in its
 15
 16   determination. Both parties’ motions for summary judgment are now before the
 17
      Court.
 18
 19
                                    STANDARD OF REVIEW

 20            The ESA contains no internal standard or scope of review, and so the default
 21
      standard and scope set forth in the Administrative Procedure Act (“APA”) applies. See
 22
 23   United States v. Carlo Bianchi & Co., 373 U.S. 709, 715 (1963) (“[I]n cases where
 24
      Congress has simply provided for review, without setting forth the standards to be
 25
      used or the procedures to be followed, this Court has held that consideration is to be
 26
 27   confined to the administrative record and that no de novo proceeding may be held.”)
 28


                                                   7
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  1
      (citations omitted). The APA states that a court may only set aside agency action that

  2   it finds is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
  3
      with law.” 5 U.S.C. § 706(2)(A). The Court’s role “is simply to ensure that the agency
  4
  5   has adequately considered and disclosed the environmental impact of its actions and
  6
      that its decision is not arbitrary or capricious.” Balt. Gas & Elec. Co. v. Nat. Res. Def.
  7
      Council, Inc. 462 U.S. 87, 97-98 (1983) (citation omitted). In addition, where, as here,
  8
  9   an agency’s technical expertise is involved, “a reviewing court must generally be at its
 10
      most deferential.” Id. at 103 (citations omitted). In accordance with the plain language
 11
 12   of APA Section 706, judicial review is limited to the agency’s administrative record.
 13   “[T]he reviewing court shall … hold unlawful and set aside agency action, findings,
 14
      and conclusions found to be--(A) arbitrary, capricious, an abuse of discretion or
 15
 16   otherwise not in accordance with law… In making the foregoing determinations, the
 17
      court shall review the whole record or those parts of it cited by a party.” 5 U.S.C. § 706
 18
 19
      (emphasis added). See also Camp v. Pitts, 411 U.S. 138, 142 (1973) (“[T]he focal point

 20   for judicial review should be the administrative record already in existence, not some
 21
      new record made initially in the reviewing court.”).
 22
 23                                           ARGUMENT
 24
             Plaintiff asks this court to second-guess the expertise of the Service in
 25
      determining which methods and models to rely upon in making its 12-month findings.
 26
 27   The Court should decline to do so. The record makes clear that, in accordance with
 28


                                                      8
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  1
      the ESA, the Service carefully and thoroughly considered the effects of multiple

  2   stressors independently and cumulatively in coming to its determination that listing
  3
      the Joshua Tree was not warranted.
  4
  5          A. The Service properly considered how stressors including climate
                change, invasive grasses, and wildfires would affect the Joshua Tree
  6
                in accordance with the best available science standard of the ESA
  7
             The Service’s listing decision is supported by the best available science
  8
  9   concerning threats from stressors including climate change, invasive grasses, and
 10
      wildfires.
 11
 12          1.    Climate Change
 13          The Service thoroughly analyzed how climate change would affect the Joshua
 14
      Tree. Admittedly, the Service did not use species distribution models (“SDMs”) to
 15
 16   evaluate extinction risk. But that is because it determined that existing models used
 17
      limited Joshua Tree distribution data that could not be reliably extrapolated to predict
 18
 19
      future distribution across the entire range of the Joshua Tree and make a quantitative

 20   assessment of how suitable habitat for the Joshua Tree would change under future
 21
      climate scenarios. AR007036. Additionally, range-wide demographic data to validate
 22
 23   an SDM is not available. AR007019-20.
 24
             Furthermore, because successful establishment of new Joshua Tree seedlings
 25
      happens only a few times in a century, studies make clear that short-term,
 26
 27   demographic monitoring does not capture the time frame necessary to determine
 28


                                                  9
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  1
      viability of the species. AR008989 (Esque et al. (2015)); AR007986 (Comanor & Clark

  2   (2000) concluding that “[i]t appears that 20 years is not adequate time to appreciate
  3
      the demographic changes of this species.”)
  4
  5          The best scientific data that the Service did have showed that the Joshua Tree
  6
      would not likely be adversely affected by climate change to the point that it would
  7
      warrant listing. For example, the record is replete with studies that show species
  8
  9   survival could actually be enhanced in a future with elevated carbon dioxide levels. See
 10
      e.g., AR009032-45 (Garfin et al. (2014) study demonstrating that seedlings for Y.
 11
 12   brevifolia in elevated carbon dioxide conditions could tolerate temperatures as low as
 13   10.58 °F); AR016161-84 (Notaro et al. (2012) study using a combined dynamic
 14
      modeling and bioclimatic-envelope approach to show that projected climate changes
 15
 16   would lead to a “robust range expansion” for Y. brevifolia); AR016120-28 (Huxman et
 17
      al. (1998); increase in carbon dioxide that mirrored increased atmospheric carbon
 18
 19
      dioxide led to increased photosynthesis in Y. brevifolia); AR016841 (Polley et al. 2013;

 20   finding that elevated atmospheric carbon dioxide would stimulate plant growth and
 21
      reduce effects of drying in warmer climate); AR007219-25 (Archer & Predick (2008);
 22
 23   study that increase in atmospheric carbon dioxide could promote Joshua Tree
 24
      seedling survival).
 25
             There are also scientific studies containing climate change modeling that show
 26
 27   the resiliency of the Joshua Tree. For example, Blatrix et al. (2013) mentions that
 28


                                                 10
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  1
      paleodistribution models and paleorecords indicate that in past cycles of glaciation,

  2   the interdependent Joshua Tree and its pollinating moths responded concomitantly in
  3
      terms of population expansion and migration. AR016058. Likewise, Barrows and
  4
  5   Murphy-Mariscal (2012) utilized climate change modeling to find strong seedling
  6
      recruitment occurring in Joshua Tree National Park, AR007515, contradicting
  7
      Plaintiff’s unidimensional argument that Joshua Trees have an inability to reproduce
  8
  9   and recruit in the face of climate change, Plaintiff’s Motion for Summary Judgment &
 10
      Supporting Memo (“Pl.’s Mot.”) at 23. Plaintiff also cites to Dole et al. (2003) as
 11
 12   purported evidence that the species’ slow dispersal rate will inhibit its ability to fill
 13   new habitat, Pl.’s Mot. at 6, but the study actually found possible range expansion due
 14
      to projected increases in atmospheric carbon dioxide. AR019635-44; see also
 15
 16   AR009161-75 (Holmgren (2009); study using radiocarbon dated middens containing
 17
      plant material to determine that Joshua Tree historically had a more expansive
 18
 19
      distribution, thus contradicting Plaintiff’s assertion that Joshua Tree cannot colonize

 20   new habitats). A 14-year period census on the age and population structure of Y.
 21
      brevifolia in the northwestern Mojave Desert (Gilliland et al. (2006)) shows that the
 22
 23   overall annual survival rate of the Joshua Tree was 0.992, with 50% of individuals
 24
      surviving up to 89 years and 5% surviving up to 383 years. AR009051. That species
 25
      census also found that the Joshua Tree had recruited young trees recently and
 26
 27   established new trees frequently over the last century, AR009052, undermining
 28


                                                   11
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  1
      Plaintiff’s assertion that all studies have found no new seedling establishment or

  2   recruitment. Pl.’s Mot. 2.
  3
             Plaintiff attempts to frame Smith et al. (1983) as the sole study that the Service
  4
  5   used as evidence for Joshua Tree temperature resilience, Pl.’s Mot. at 16-17, but the
  6
      record demonstrates that the Service considered other studies related to temperature
  7
      tolerance and noted that Smith et al. (1983) provided a data point indicative of the
  8
  9   temperature range for the species. AR006981-92. Laboratory studies such as Smith
 10
      et al. 1983 helped the Service paint a fuller view of the Joshua Tree’s future viability.
 11
 12          This demonstrates the comprehensive approach that the Service took in
 13   analyzing the many scientific studies on the Joshua Tree. In contrast, Plaintiff
 14
      misleadingly simplifies the studies utilizing SDMs that it relies on for the bulk of its
 15
 16   argument.
 17
             First, Plaintiff alleges that the Service “simply discounts” the climate modeling
 18
 19
      in Barrows and Murphy-Mariscal (2012), Pl.’s Mot. at 12, but even though the study

 20   only looks at one small portion of the Joshua Tree’s range, the Service still clearly
 21
      addressed the modeling in the 2012 study. At multiple points in the record the
 22
 23   Service discusses that the model finds reduced Joshua Tree survival, recruitment, and
 24
      distribution. See AR007001 (noting the 90% projected decline in Joshua Tree
 25
      distribution under the most extreme climate scenario modeled in Barrows and
 26
 27   Murphy-Mariscal (2012), AR007014, AR007037. Barrows and Murphy-Mariscal
 28


                                                  12
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  1
      (2012) also identified the climate refugia where Joshua Trees would persist and

  2   observed there was no climate-related mortality found among the Joshua Trees and
  3
      considerable tree seedling recruitment. AR007002, AR007507, AR007509,
  4
  5   AR007515. Notably, in his review of the SSA during the peer review process, Dr.
  6
      Barrows himself described the SSA as a “comprehensive review of the known
  7
      biology/ecology” of the Joshua Tree, and encouraged the Service to give greater
  8
  9   consideration to data that ran contrary to Plaintiff’s position that Dr. Barrows’
 10
      modeling supports finding a greater level of threat to the species. Dr. Barrows noted
 11
 12   that the SSA omitted data from his 2012 paper showing that Joshua Trees could
 13   persist in the southern portion of its range, and explained that recent research in that
 14
      southern range corroborated his 2012 findings. AR007507, AR021521.
 15
 16         Second, Plaintiff points to Notaro et al. (2012) as an example of a study that
 17
      shows the “myriad ways” that climate change detrimentally affects the Joshua Tree.
 18
 19
      Pl.’s Mot. 5. But climate change projections in Notaro’s study actually led to a

 20   “robust range expansion” for Y. brevifolia. AR016174. Similarly, Plaintiff relies on
 21
      Shafer et al. (2001) as a study that uses climate change models that assume a 1%
 22
 23   annual increase in greenhouse gases as one that shows complete extirpation of the
 24
      Joshua Tree in its range. Pl.’s Mot. at 11. But a closer look demonstrates that the
 25
      study shows significant expansion north and westward with increasing temperatures,
 26
 27   and contraction only in the southern and central range. AR016600-16.
 28


                                                 13
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  1
            Third, Plaintiff discusses at some length the Service’s decision to omit from the

  2   SSA a non-peer-reviewed abstract Cornett presented at a 2014 symposium. Pl.’s Mot.
  3
      at 23. But in the final SSA the Service cited Cornett (2017), a draft paper by that same
  4
  5   author, to indicate that adult Joshua Trees are more likely to withstand drought
  6
      periods than non-reproducing Joshua Trees. AR006991. Notably, the Cornett (2017)
  7
      study looks at 10 one-hectare sites across the Joshua Tree range and includes the
  8
  9   information presented in the Cornett (2014) symposium paper, which was confined to
 10
      a one-hectare site in the Lost Horse Valley of Joshua Tree National Park. AR008170.
 11
 12   Also notable is that the Cornett (2017) study discusses the use of SDMs and states
 13   clearly that “to date no empirical data has been presented supporting or rejecting the
 14
      efficacy of the models,” id., further supporting the Service’s decision not to rely on
 15
 16   these models.
 17
            Throughout its brief, Plaintiff seizes upon the comments by peer reviewer Dr.
 18
 19
      Smith to argue that the Service ignored the effects of climate change on successful

 20   germination and recruitment. Pl.’s Mot. at 21-22. Plaintiff’s argument is unavailing.
 21
      As a threshold matter, Dr. Smith is an evolutionary biologist who has not constructed
 22
 23   his own SDM for Joshua Tree, but criticized the Service for not incorporating other
 24
      researchers’ SDMs. AR021813. Scientists who are experts in SDMs such as Dr. Loik,
 25
      AR005217-21, and Dr. Barrows, AR005128, were also peer reviewers on the SSA but
 26
 27   did not voice the same concerns as Dr. Smith about the predictive distribution models
 28


                                                 14
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  1
      used. Therefore, to the extent the Service disagreed with Dr. Smith’s comments

  2   regarding the appropriateness of using SDMs, it was entirely reasonable.
  3
             2. Wildfires
  4
  5          Regarding the threat of wildfires, Plaintiff states that, “The record evidence
  6
      shows fire has already burned large swaths of Joshua tree habitat,” and that this
  7
      “negative” trend would “continue throughout a significant portion of the Joshua
  8
  9   Tree’s range.” Pl.’s Mot. at 18. But studies do not support this argument that Joshua
 10
      Tree populations are currently in decline, or will be, because of an increase in fire size
 11
 12   and frequency. 3 For example, Defalco and Esque 2010, which Plaintiff relies on to
 13   argue that the Service “dismissed and downplayed” threats from wildfire, concludes
 14
      that adult trees showed fire resiliency by resprouting in burned areas and that, as a
 15
 16   result, the Joshua Tree could “quickly re-establish as productive adults.” AR008197-
 17
      98. Plaintiff also uses Defalco and Esque 2010 to argue that wildfires will kill all size
 18
 19
      classes of Y. brevifolia, Pl.’s Mot. at 18. However, that study examined fire resiliency

 20   only in adult Joshua Trees. AR008197-98. It therefore cannot be used, as Plaintiff
 21
 22
 23   3
        Plaintiff paints as “very troubling” the “inexplicabl[e]” and “dramati[c]” decrease from the
 24   draft SSA to the final SSA of the amount of Joshua Tree habitat that the Service classified as
      moderate to high risk of invasive grass cover. Pl.’s Mot. at 20. In the SSA, the Service used
 25   data from the Bureau of Land Management’s Mojave Basin and Range Rapid Ecoregional
 26   Assessment that models the potential abundance of invasive grass within Joshua Tree
      populations to assist in projecting future habitat conditions associated with future fire frequencies
 27   for Joshua Tree. AR007034. While there was an error in the process used to calculate the
      percentage of Joshua Tree population acres within each invasive grass cover in the initial SSA,
 28   the final SSA includes the correct numbers. See AR003022.


                                                       15
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  1
      attempts to, as support for the assertion that wildfires mean that the Joshua Tree

  2   population as a whole will shift to older, taller trees with reduced recruitment,Pl.’s
  3
      Mot. at 22-23. Similarly, Brooks and Matchett (2006), which Plaintiff uses as evidence
  4
  5   of a new fire regime, only made predictions of wildfire based on available data from
  6
      1980–2004, a period of high drought and frequent wildfires. AR007845-61. Brooks
  7
      and Matchett (2006) is also an example of the conflicting scientific information that
  8
  9   the Service delved into in making its 12-month findings: while Cornett (2014) found
 10
      that there was no new recruitment in its one-hectare study area, AR016091-94, Brooks
 11
 12   and Matchett (2006) found evidence of recruitment, AR007845-61.
 13          By the same token, Plaintiff relies on the assessment in Comer et al. 2013 to
 14
      argue that the Service made an “about face” on the threat of invasive grasses and
 15
 16   wildfire, Pl.’s Mot. at 19, but fail to note the study’s own acknowledgement of the
 17
      high unreliability of fire projections and that fire projections do not predict dramatic
 18
 19
      changes in current fire regimes from now to 2060. AR008116. The models in Comer

 20   et al. (2013) also project a range expansion in the north and western range of the
 21
      Joshua Tree, AR008136, belying Plaintiff’s reliance on it to show only range
 22
 23   contractions, Pl.’s Mot. at 5.
 24
             Plaintiff’s argument that the Service “dismissed critical feedback from . . . sister
 25
      federal agencies,” see Pl.’s Mot. at 1, is belied by the reports themselves. For example,
 26
 27   a 2003 U.S. Geological Survey study used repeat photography of burned and
 28


                                                  16
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  1
      unburned study areas in a Nevada test site to demonstrate that Joshua Trees are a

  2   relatively fast-growing and medium-lived species, thereby showing that wildfires do
  3
      not necessarily lead to widespread mortality of Joshua Trees. AR014359; see also
  4
  5   AR014298-307 (United States Air Force study on Joshua Tree survivorship using light
  6
      detection and ranging data, photogrammetry analysis, and geographic information
  7
      system analysis indicated that over a 25-year period, severe burn stressors did not
  8
  9   diminish the Joshua Tree populations on Edwards Air Force Base).
 10
            The preceding discussion is but a smattering of the thousands of pages of
 11
 12   complex, often conflicting, scientific studies, peer review comments, and public input
 13   from other state and federal agencies that the Service sifted through in making its 12-
 14
      month findings. Instead of acknowledging this complexity, Plaintiff advances
 15
 16   misleading generalizations in its argument about those studies. See e.g. Pl’s Mot. at 22
 17
      (citing to Esque et al. (2015) as evidence that using current distribution to identify
 18
 19
      suitable habitat for the species is inappropriate because long-lived as Joshua Tree

 20   adults may mask climate change effects, but the study had a sample size of 53 pre-
 21
      reproductive Y. brevifolia in one study area of Yucca Flat, Nevada); Id. at 14
 22
 23   (contending that the SDMs, ecological niche models, and finer scale data all reached
 24
      similar results, even though one study found that fine scale climate refugia remained
 25
      in Joshua Tree National Park (Barrows and Murphy-Mariscal (2012)), another study
 26
 27   found that there was a large contraction in Joshua Tree National Park (Cole et al.
 28


                                                  17
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  1
      2011), and still another study found that there was robust range expansion with

  2   increased atmospheric carbon dioxide (Dole et al. 2003)).
  3
             Ultimately, while the varying types of modeling that the Service analyzed in
  4
  5   making its 12-month findings are complex, the record makes clear that the Service
  6
      evaluated the impacts from the many threats facing the Joshua Tree as well as the
  7
      synergistic impacts of those threats whenever there was sufficient data available to
  8
  9   draw conclusions. See AR007049 (table outlining examples of potential synergistic
 10
      effects including habitat loss, climate change, and invasive grass cover and altered fire
 11
 12   return interval). It is when the agency is “choosing between various scientific
 13   models” that “deference to agency determinations is at its greatest.” San Luis & Delta-
 14
      Mendota Water Auth. v. Jewell, 747 F.3d 581, 610 (9th Cir. 2014) (citing Nw. Coal for Alts.
 15
 16   to Pesticides (NCAP) v. EPA, 544 F.3d 1043, 1050 (9th Cir. 2008)).
 17
             Center for Biological Diversity v. Zinke, 868 F.3d 1054 (9th Cir. 2017) is instructive.
 18
 19
      There, the Court rejected the plaintiff’s allegation that the Service had “ignored

 20   climate change as a factor,” and held that the Service had “directly addressed climate
 21
      change” in finding that climate change was not a “significant threat” to the Sonoran
 22
 23   Desert Area Bald Eagle due to its high adaptability, which the Service concluded
 24
      would allow the eagle to “continue to exist even under some of the possible effects
 25
      from climate change.” Id. at 1062 (citation omitted). In Zinke, the Ninth Circuit
 26
 27   made clear that it “must defer to the [Service’s] interpretation of complex scientific
 28


                                                    18
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  1
      data.” Id. at 1061 (citing Nw. Ecosystem All. v. U.S. Fish & Wildlife Serv., 475 F.3d 1136,

  2   1150 (9th Cir. 2007)).
  3
             Here, the Service clearly explains why it chose to rely on certain climate change
  4
  5   studies rather than those containing the SDMs that Plaintiff favors. “Because analysis
  6
      of the relevant documents ‘requires a high level of technical expertise,’ [the Court]
  7
      must defer to ‘the informed discretion of the responsible federal agencies.’” Marsh v.
  8
  9   Or. Nat. Res. Council, 490 U.S. 360, 377 (1989) (quoting Kleppe v. Sierra Club, 427 U.S.
 10
      390, 412 (1976)); see also San Luis, 747 F.3d at 618 (the Fish and Wildlife Service’s
 11
 12   choice of which water flow model to use where “no superior set of models have been
 13   identified” was a ‘scientific determination’ . . . that ‘requires a high level of technical
 14
      expertise,’ and so the court “must be at [its] most deferential in reviewing” the agency
 15
 16   decision based on the models) (citations omitted). What is before the Court is the
 17
      Service’s expert interpretation of multiple methodologies to determine the effects of
 18
 19
      climate change to the Joshua Tree. Plaintiff refuses to defer to the Service’s

 20   determination of which studies and models to use, even though such a decision is
 21
      “well within [the Service’s] discretion.” San Luis, 747 F.3d at 610. Indeed, this is
 22
 23   exactly the type of case where a high degree of deference is afforded to the agency.
 24
      See Alaska Oil & Gas Ass’n v. Pritzker, 840 F.3d 671, 679 (9th Cir. 2016) (Ninth Circuit
 25
      stressing that the court “‘must defer to the agency’s interpretation of complex
 26
 27   scientific data’ so long as the agency provides a reasonable explanation for adopting
 28


                                                   19
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  1
      its approach and discloses the limitations of that approach.”); San Luis, 747 F.3d at

  2   619 (finding that Fish and Wildlife Service adequately explained why it chose certain
  3
      models and their possible limitations) (citation omitted); Trout Unlimited v. Lohn, 559
  4
  5   F.3d 946, 959 (9th Cir. 2009) (“[a]ssessing a species’ likelihood of extinction involves a
  6
      great deal of predictive judgment . . . entitled to particularly deferential review,” and
  7
      an agency is “entitled to decide between conflicting scientific evidence.”) (citations
  8
  9   omitted). In Kern County Farm Bureau v. Allen, 450 F.3d 1072, 1080 (9th Cir. 2006), the
 10
      Ninth Circuit made clear that the “best available data requirement ‘merely prohibits
 11
 12   [an agency] from disregarding available scientific evidence that is in some way better
 13   than the evidence [it] relies on’” and that the Service satisfied its duty under the best
 14
      available science standard where it “thoroughly evaluated and incorporated the data”
 15
 16   from contrary studies in “making its listing decision.” Id. at 1080-81(alterations in
 17
      original) (citation omitted). That is what the Service did in making these 12-month
 18
 19
      findings, and the Court should uphold its determinations.

 20          The Court should reject Plaintiff’s improper attempt to transform this case into
 21
      a “battle of the experts,” and uphold the Service’s listing decision as one that
 22
 23   articulates a rational connection between the facts found and the choice made and is
 24
      supported by best available science.
 25
             B. The Service’s consideration of existing regulatory mechanisms was
 26
                rational
 27
 28


                                                  20
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  1
             The Service rationally determined the Joshua Tree did not warrant listing due

  2   to the inadequacy of existing regulatory mechanisms surrounding climate change. The
  3
      ESA requires the Service to determine whether a species is threatened or endangered
  4
  5   based, in part, on “the inadequacy of existing regulatory mechanisms.” 16 U.S.C. §
  6
      1533(a)(1)(D). The inadequacy of existing regulations cannot be determined in
  7
      isolation, but must be evaluated against the extent and nature of threats facing the
  8
  9   species. Greater Yellowstone Coal., Inc. v. Servheen, 672 F. Supp. 2d 1105, 1113 (D. Mont.
 10
      2009) (“When considering the inadequacy of existing regulatory mechanisms in the
 11
 12   context of a petition to list a species, the question is whether the existing regulatory
 13   mechanisms are inadequate to prevent a species that is presumably decreasing in
 14
      population from becoming threatened, endangered, or even extinct”) aff'd in part, rev'd
 15
 16   in part and remanded 665 F.3d 1015 (9th Cir. 2011).
 17
             Here, the Service discussed the regulatory mechanisms affecting the Joshua
 18
 19
      Tree, evaluating those mechanisms across multiple states as well as federal and state

 20   agencies. AR006942-43. The Service concluded that regulatory mechanisms exist and
 21
      provide substantial regulatory protections and some conservation benefits to the
 22
 23   Joshua Tree and its habitat range wide. Id. Plaintiff’s only attack on the Service’s
 24
      consideration of regulatory mechanisms is that the Service allegedly failed to address
 25
      regulations pertaining to climate change. See Pl.’s Mot. at 25. But existing regulations
 26
 27   can only be inadequate where they are insufficient to militate a species’ slide to
 28


                                                  21
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  1
      extinction. Here, the Service concluded in its individual evaluation of each factor, and

  2   in its evaluation of the cumulative impacts of all potential threats, that no data
  3
      indicated such a slide was occurring for the Joshua Tree. AR006927-54. Since that
  4
  5   conclusion is rational and supported by the record—and Plaintiff has offered no
  6
      persuasive arguments to the contrary—the regulatory mechanisms at issue cannot be
  7
      “inadequate” to prevent the species from sliding towards extinction. The Service’s
  8
  9   consideration of regulatory mechanisms was therefore lawful.
 10
             C. The Service’s finding that Y. brevifolia is not threatened throughout a
 11             significant portion of its range is reasonable and supported by the
 12             record.
 13          After determining that Y. brevifolia is not endangered or threatened throughout
 14
      its range, the Service then considered whether Y. brevifolia may be endangered or
 15
 16   threatened in a significant portion of its range (“SPR”). To determine if the species
 17
      faced a greater level of imperilment in any portion of its range, the Service considered
 18
 19
      whether the threats analyzed and addressed in its range-wide analysis, including

 20   climate change, reduced recruitment, wildfires, and habitat loss, are geographically
 21
      concentrated in any portions of the species’ range at a biologically meaningful scale.
 22
 23   AR06951-52. The Service identified only one portion along the western edge of the
 24
      southern population of Y. brevifolia that may be experiencing a concentration of
 25
      threats related to wildfire and urban development and evaluated whether listing Y.
 26
 27   brevifolia is warranted based on threats to that portion of its range. Ultimately, the
 28


                                                  22
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  1
      Service concluded that this area was not significant to Y. brevifolia’s range as it was not

  2   unique or biologically different than other areas supporting the southern population
  3
      and it constitutes a “very small percentage” of the total area occupied by Y. brevifolia in
  4
  5   its southern population. Id. The Service did not specifically address other threats in
  6
      the SPR analysis, such as climate change and reduced recruitment, because it found
  7
      that other threats are impacting Y. brevifolia in an essentially uniform manner
  8
  9   throughout the remainder of the range, including in the rest of the range of the
 10
      southern population. Id. Plaintiff’s contentions that the Service failed to adequately
 11
 12   consider threats of habitat loss, reduced recruitment, wildfire, and urban development
 13   in this area, as well as in the range of the southern population and the species’ entire
 14
      range, Pl.’s Mot. at 24-25, are meritless.
 15
 16          At bottom, Plaintiff’s primary argument is that because the Service allegedly
 17
      failed to consider these threats in its range-wide determination, the Service necessarily
 18
 19
      failed to consider them in its SPR determination. This is what occurred in the case

 20   upon which Plaintiff primarily relies, Defenders of Wildlife v. Jewell, 176 F.Supp.3d 975
 21
      (D. Mont. 2016). Pl.’s Mot. at 24. In that case, the court held the Service’s treatment
 22
 23   of denning-scale effects of climate change on the wolverine was arbitrary and
 24
      capricious. 176 F.Supp.3d at 1005. In later evaluating the plaintiffs’ SPR analysis, the
 25
      court said this same error “compels the agency to revisit its SPR analysis” because the
 26
 27   analysis “proceeded from a flawed premise.” Id. at 1007. Here, in contrast, for all the
 28


                                                   23
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  1
      reasons provided above, supra Sec. A, the Service more than adequately considered the

  2   identified threats to Y. brevifolia both range-wide and with respect to the species the
  3
      southern population, including along the western edge. Therefore, the Service’s SPR
  4
  5   analysis for Y. brevifolia is based on a thorough and reasonable consideration of the
  6
      threats to Y. brevifolia.
  7
             Plaintiffs also allege that the predicted habitat loss within the southern
  8
  9   population of Y. brevifolia, by itself, may represent an SPR for the species, Pl.’s Mot.
 10
      25, and in doing so overstate the impact of potential habitat loss for Y. brevifolia.
 11
 12   While the potential habitat loss in the southern population of Y. brevifolia is projected
 13   at 21.7% (Scenario I) and 41.6% (Scenario II), those numbers represent projected
 14
      potential losses of approximately 13% and 26%, respectively, of Y. brevifolia’s total
 15
 16   range. AR007047. Furthermore, while Scenario II projects an up to 41.6% loss of
 17
      habitat in the southern population of Y. brevifolia, that loss would occur throughout that
 18
 19
      area (totaling approximately 3.7 million acres)—and the Service determined that the

 20   concentration of threats related to wildfire and urban development was only in the
 21
      perimeter of the current mapped distribution along the urban-wildland interface of
 22
 23   the western edge of the southern population. AR007001, AR007050. Thus, the
 24
      Service’s conclusion that the portion of the species’ range facing a concentration of
 25
      threats from wildfire and habitat loss is “a very small percentage” of the area occupied
 26
 27
 28


                                                  24
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  1
      by Y. brevifolia within its southern population is reasonable and supported by the

  2   record. AR006952.
  3
             For all these reasons, Plaintiff’s SPR argument fails.
  4
  5                                        CONCLUSION
  6
             Plaintiff fails to demonstrate that the Service’s determination is arbitrary and
  7
      capricious as required under the applicable deferential standard of review. Motor
  8
  9   Vehicle Mfrs. Ass’n of the U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).
 10
      The Court should defer to the Service’s expertise with respect to the methodology it
 11
 12   used to predict the effects of stressors including climate change, wildfires, and habitat
 13   loss on the species, uphold the Service’s determination that listing the Joshua Tree
 14
      under the ESA is not warranted, and grant summary judgment in favor of Federal
 15
 16   Defendants and deny Plaintiff’s cross-motion for summary judgment.
 17
      Dated: March 12, 2021                      Respectfully submitted,
 18
 19                                              JEAN E. WILLIAMS
 20
                                                 Deputy Assistant Attorney General
                                                 U.S. Department of Justice
 21                                              Environment and Natural Resources Division
 22                                              SETH M. BARSKY, Section Chief
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 24
                                                  /s/ Shampa A. Panda
 25
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                                                   25
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  1
                                  CERTIFICATE OF SERVICE

  2          I hereby certify that on March 12, 2021, I electronically filed the foregoing
  3
      document with the Clerk of the Court using the CM/ECF system, which will send
  4
  5   notification of this filing to the attorneys of record.
  6
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